Case 2:18-cv-05008-FMO-AFM Document 5-6 Filed 06/05/18 Page 1 of 10 Page ID #:293




                     EXHIBIT 4                              
Case 2:18-cv-05008-FMO-AFM Document 5-6 Filed 06/05/18 Page 2 of 10 Page ID #:294




                                                                        Page 280

        1            A      Not on every month.
        2            Q      Okay.    By the time that Essex Granger 2 entity
        3   was formed -- or by the time the April 26, 2016, e-mail
        A   was sent, by that point the lease that had been assigned
        5    to the Granger 1 portfolio, had you been able to, for
        6    every single one of those leases go on, as you put it, a
        7    50-50       transaction?

        8            A       No leases were assigned.   I believe you said it
        9    had been assigned.         So no releases were assigned.
       10            Q       Okay.
       11            A       We were not able to live up to the one to one

       12    principal because we had a number of lessees who had
       13    promised.        And I believe we sent you the signed proposals
       14    from a number of lessees, who told us that — we might
       15    not have, but we do have these who said, "Well, we're
       16    going to -- we, XYZ Company, will lease $5 million of
       17    equipment from Essex Capital over this period time." And
       18    based on lack of funding or lack of demand, or both, we
       19    had a significant short fall between promised equipment
       20    to finance and actual equipment that was financed by any
       21    source.

       22            Q       Have you told Granger Management or anybody
       23    from -- or have you told Granger Management or Gerri or
       24    Andy or Ryan Donovan that you were not able to live up to
       25    this 50-50 intent?




                                                              EXHIBIT 4 PAGE 162
Case 2:18-cv-05008-FMO-AFM Document 5-6 Filed 06/05/18 Page 3 of 10 Page ID #:295




                                                                      Page 281

        1         A      There was no specific conversation about the
        2    one to one, but they were aware that we haven't have
        3    signed those leases as explained in my letter to them —
        4    e-mail, pardon me, to Andy Walter and Gerri McManus.
        5         Q      Okay.   And that's the e-mail you sent to them
        6    after you received the SEC subpoena; right?
        7         A      You know, I don't have it in front of me.          I
        8    believe it was, but I don't have that in front of you.
        9                                  (SEC Exhibit No. 72 was referred
       10                                 to.)

       11          Q     I'm handing you what's previously been marked
       12    as Government Exhibit 72.      A copy has been handed to your
       13    attorney.     Take a look at previously marked Exhibit 72
       14    while I describe it for the record.        Government Exhibit
       15    72 is Bates labeled SEC-Granger-E-0018104 through 18105
       16    and there was a third page, which is a spreadsheet.            Top
       17    left of the spreadsheet states, Essex Capital Corporation
       18    current leases.

       19                Do you recognize the attachment to Government
       20    Exhibit 72?

       21          A     The third page?

       22          Q     Yes.

       23          A     It appears to me to be current leases that
       24    Essex Capital has.
        25         Q     Okay.   If you look at first page of Government




                                                              EXHIBIT 4 PAGE 163
Case 2:18-cv-05008-FMO-AFM Document 5-6 Filed 06/05/18 Page 4 of 10 Page ID #:296




                                                                      Page 320

        1    was encumbered by bank loans at Montecito Bank and Trust.
        2    Some were investor funds.      Fortunately all those
        3    obligations have been satisfied, even though the lessee
        4    stopped paying leases at the end of 2013.
        5               Ms. Garvey is still getting interest on both of
        6    the notes for $100,000 each or her brokerage account is.
        7          Q    Okay.     So we'11 ask that you go ahead and go
        8    back and look at all the UCC filings and confirm whether
        9    you have filed for these things and any others within —
       10    well, this is a 2013 and 2015.       Any others within the
       11    time period that actually reference a security interest.
       12          A     Of   course.

       13          Q    And you also confiirm whether or not you do have
       14    some sort of schedule or information that would identify
       15    which of the notes that are covered by our subpoena
       16    actually have a reference to security interest.
       17          A     Sure.

       18          Q     Mr. lannelli, what's your net worth?
       19          A     That's determined by a number of factors about
        20   the value of my house.      I would say that my net worth is,
        21   depending upon what the value of my investment in Essex
        22   is, I'm not — I'm not dodging the question. I just want
        23   to be responsive.      Whatever I say, I'm going to be wrong,
        24   but I would think if I had to liquidate every asset I
        25   owned, my personal property, home — I'll shut my cell




                                                              EXHIBIT 4 PAGE 164
Case 2:18-cv-05008-FMO-AFM Document 5-6 Filed 06/05/18 Page 5 of 10 Page ID #:297




                                                                                  Page 321

        1    phone off in case my wife is listening — 15 to $20
        2    million.

        3              Q     Okay.        So let's -- so we — you did provide
        4    your bank account statements and your brokerage account
        5    statements.

         6             A     Uh-huh.

        7              Q     So as of —        as of February 28, 2017, your net
         8   portfolio value was $1.6 million dollars?
         9             A     This is -- this is personal?

       10                    MS. CHANG:        Yeah, personal.        The brokerage
       11    accounts.

       12                    THE WITNESS:          Yeah.     Right.   Right.
       13                    BY MS.       CHANG:

       14              Q     And then separately you have combined a bank
       15    balance about one million.

       16                    Does that sound right?

       17              A      I'm sorry, what was the date again?
       18              Q     At the end of February 28?

       19              A      Of    17?

       20                     MS.    OCHOA:    This year.

        21                    THE WITNESS:         I    -- yeah,   I mean —    you guys
        22   have      all   my statements.            So you probably know better than
        23   I   do.

        24                    BY    MS.   OCHOA:

        25             Q      So that brings us to 2.6million.                And in




                                                                         EXHIBIT 4 PAGE 165
     Case 2:18-cv-05008-FMO-AFM Document 5-6 Filed 06/05/18 Page 6 of 10 Page ID #:298




                                                                           Page 323

             1    difference between my mortgage is and the property in New
             2    York is fully paid for that's worth approximately two and
             3    a   half million dollars.     The difference between my

             4    mortgage -- I mean, your house is worth what somebody's
             5    willing to pay for it; right?       But I think a reasonable
             6    value on my house net of a two-plus million dollar
             7    mortgage would be about seven to $8 million, depending
             8    upon finding the right buyer.
             9                BY MS.   CHANG:

            10           Q    I'm sorry, you just said it's net?
            11           A    Net of the mortgage.     And it's an arbitrary
            12    figure, obviously.      So if you add all that up, my wife
r\          13    has the balance of an annuity.       I mentioned yesterday, we
            14    cashed in a million to put it into Essex.
            15                BY MS.   OCHOA:

            16           Q    So what i t is the balance?
            17           A    About a half a million dollars.       She has an IRA
            18    for about half a million dollars.        I believe you have
            19    these accounts.      I think she has a brokerage account of
             20   about $280,000.      The value of the interactive brokerage
             21   account that's unfortunately about $2.4 million now
             22   because it's fairly populated with NEOS Therapeutics,
             23   which has gone up since February. I guess that's it.
             24        Q    So this — your -- the personal guarantee that
             25   you issued far exceed your personal — your net worth;




                                                                   EXHIBIT 4 PAGE 166
     Case 2:18-cv-05008-FMO-AFM Document 5-6 Filed 06/05/18 Page 7 of 10 Page ID #:299




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                                                                              Page 324

             1    right?
             2          A      Yes.

             3                 BY MR.   BLAU:

             4          Q      Did you know that at the time that you made the
             5    personal guarantees?

             6          A      Did I    —   did I   know that the guarantees —
             7    well, I looked at personal guarantees in conjunction with
             8    through to four different things.          Number 1 there was an
             9    Essex guarantee.          Number 2, there was a personal
            10    guarantee.     Number 3 and certainly all the bank loans
            11    there were security interests held by the bank, meaning,
            12    that the lease payments were — if I guaranteed $20
            13    million at Montecito Bank and Trust — the reason it was
            14    explained to me that Montecito Bank and Trust required me
            15    to put personal guarantees is that Montecito bank and
            16    trust is a community bank and a number of the lessees
            17    were out of their footprint.           So the banking regulators
            18    made them have a local borrower.          And the local borrower
            19    was Essex capital and the local borrower was me.
             20         Q      So getting back to my question, and when you
             21   personally guarantee 60 million, if not more, worth of
             22   loans, you described to us about 10 to $15 million net
             23   worth, did you know that your personal net worth could
             24   not back up the personal guarantees you made?
             25         A      It could not on its own.        I knew that.




                                                                     EXHIBIT 4 PAGE 167
     Case 2:18-cv-05008-FMO-AFM Document 5-6 Filed 06/05/18 Page 8 of 10 Page ID #:300




                                                                            Page 325

             1                   BY MS.   OCHOA:

             2            Q     Did you tell that to the promissory knotholes
             3    who you were giving personal loan guarantees to?
             4            A      I   don't want to use the word "none" because

             5    that could be an exaggeration.          But to the best of my
             6    recollection, no one asked me —          I did not tell them.
             7    Okay?       We'll just leave it at that.
             8                   BY MR.   BLAU:

             9            Q      Did you think that your personal guarantee was
            10    important to them in deciding to loan money to you and to
            11    Essex?

            12            A      I think they felt better knowing that I was
            13    personally guaranteeing the note.
            14            Q      Did you have any reason to believe they
            15    wouldn't have loaned you the money had you not given them
            16    the personal guarantee?
            17            A      I have no reason to believe that, no.
            18                                     (SEC Exhibit No. 45 was referred
            19                                     to.)

             20                  BY MS.   OCHOA:

             21           Q      I'm handing you what's been previously marked
             22   as Government Exhibit 44, the document that was produced
             23   by Mr. Van Wyk and it appears to be a balance sheet as of
             24   December 31, 2015 for Ralph and Melissa lannelli.
             25                  Do you recognize Government Exhibit 44?




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                                                                    EXHIBIT 4 PAGE 168
Case 2:18-cv-05008-FMO-AFM Document 5-6 Filed 06/05/18 Page 9 of 10 Page ID #:301



                                     PROOFREADER'S    CERTIFICATE




           3   In   The   Matter   of:   ESSEX CAPITAL    CORP.


           4   Witness:                  Ralph lannelli

           5   File    Number:           LA-04787-A


           6   Date:                     Thursday,    November 16,    2017

           7   Location:                 Los Angeles,    CA




           9                 This is to certify that I, Maria E.          Paulsen,

          10   (the undersigned), do hereby swear and affirm that the

          11   attached proceedings before the U.S. Securities and

          12   Exchange Commission were held according to the record and

          13   that this is the original, complete, true and accurate

          14   transcript that has been compared to the reporting or

          15   recording accomplished at the hearing.

          16


          17                                          12/1/2017

          18   (Proofreader's Name)                   (Date)


          19


          20


          21


          22


          23


          24


          25




                                                                     EXHIBIT 4 PAGE 169
Case 2:18-cv-05008-FMO-AFM Document 5-6 Filed 06/05/18 Page 10 of 10 Page ID #:302



     1                                 CERTIFICATION


     2                                         OF


     3                       CERTIFIED SHORTHAND REPORTER

     4


     5                  I,   the undersigned,       a Certified Shorthand

     6     Reporter of the State of California do hereby certify:

     7                  That the foregoing proceedings were taken

     8     before me at the time and place herein set forth;

     9     that any witnesses in the foregoing proceedings, prior

    10     to testifying, were placed under oath; that a verbatim

    11     record of the proceedings was made by me using machine

    12     shorthand which was thereafter transcribed under my

    13     direction;    further,    that the foregoing is an accurate

    14     transcription thereof.

    15                  I further certify that I am neither financially

    16     interested in the action nor a relative or employee of

    17     any attorney of any of the parties.

    18                  IN WITNESS WHEREOF,         I    have this date

    19     subscribed my name:        December 1. 2017.

    20

    21

    22

                                        Lisa   Hess

    23                                  Certificate Number 13045

    24

    25




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                                                                     EXHIBIT 4 PAGE 170
